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                            UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION




EDWING D. DANIEL, WILLIAM
COTTRILL, BROOKE PADGETT,
ELAINE LAREINA,

                   Plaintiffs,

v.                                                   Case No. 8:17-cv-02503-SCB-JSS

NAVIENT SOLUTIONS, LLC,

                   Defendant.




              DECLARATION OF ANDREW REINHART IN SUPPORT OF
                       DEFENDANT NAVIENT SOLUTIONS. LLC'S
                RESPONSE TO MOTION FOR CLASS CERTIFICATION


       I, Andrew Reinhart, declare as follows:

       1.      I am an employee of defendant Navient Solutions, LLC ("NSL").        My current

position is Senior Account Analyst. In this role, I am responsible for researching and analyzing

customer and third-party complaints, including by gathering information and documents. I am

familiar with NSL's account records, including correspondence histories and call recordings for

borrower accounts. I make this declaration in support of NSL's Response to Plaintiffs' Motion

for Class Certification. The facts stated herein are true and correct based upon my own personal

knowledge or review of records kept by NSL in the ordinary course of business, and if called as

a witness to testify, I could and would competently testify thereto.

       2.      I have reviewed records relating to the accounts of named plaintiffs Edwing

Daniel ("Daniel"), William Cottrill ("Cottrill"), Elaine Lareina Lai ("Lai") and Brooke Padgett

("Padgett"). NSL has serviced student loans related to those accounts.




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         3.      Daniel is the borrower on five loans made under the Federal Family Education


  Loan   Program     ("FFELP").     Attached    hereto   as   Exhibit    1      are   pages    from   Daniel's

 Correspondence History that are cited in the Response. NSL has recordings of telephone calls to


 or from Daniel dating back to April 30, 2013. Attached hereto as Exhibit 2 are transcripts of the


 recordings that are cited in the Response.


         4.      In 2005, Cottrill consolidated his federal student loans into two Consolidated


 FFELP loans.      Attached hereto as Exhibit 3 are pages from Cottrill's Correspondence History


 that are cited in the Response. NSL has two recordings of telephone calls related to Cottrill's

 account dating back to August 9, 2017.        Attached hereto as Exhibit 4 are transcripts of those


 recordings, which are cited in the Response.


         5.     Lai has four FFELP loans.       Attached hereto as Exhibit 5 are pages from Lai's


 Correspondence History that are cited in the Response.       NSL has eight recordings of telephone


 calls related to Lai's account dating back to January 21, 2014. Attached hereto as Exhibit 6 are


 transcripts of the recordings that are cited in the Response.


         6.     Padgett consolidated into Direct Loans in October 2017.                    Attached hereto as

 Exhibit 7 are pages from Padgett's Correspondence History that are cited in the Response. NSL


 has recordings of telephone calls related to Padgett's account dating back to February 19, 2013.


 Attached hereto as Exhibit 8 are transcripts of the recordings that are cited in the Response.


         I declare under penalty of perjury under the laws of the United States that the foregoing is


 true and correct.


         Executed this   / day of March, 20 1 9 at k/'                  rt-e.         -A


                                                                                Andrew Reinhart




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